                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                      v.                      )     No. 3:10-CR-6
                                              )
CRAIG JONES,                                  )     (PHILLIPS/SHIRLEY)
                                              )
                               Defendant.     )


                                MEMORANDUM AND ORDER

       This case came before the undersigned on January 22, 2010, for a status conference on the

matter of Defendant Craig Jones’ legal representation. The Court appointed [Doc. 6] Attorney

Steven G. Shope to represent the Defendant on January 12, 2010. At that time, the Defendant

expressed a desire to retain counsel. On January 22, Attorney Shope appeared on behalf of the

Defendant, who participated in the hearing by telephone. Assistant United States Attorney Tracy

Stone waived his appearance at the hearing.

       The Defendant informed the Court that he wanted Mr. Shope to continue to represent him.

Mr. Shope agreed to continue the representation. The Court reviewed the Defendant’s financial

status and determined that the Defendant was capable of making partial payment for legal

representation and for other services necessary for adequate representation. The Defendant agreed

to pay $7,500 in the form of periodic payments to be completed by December 31, 2010.

       Pursuant to the Criminal Justice Act (CJA), the Court ORDERS that the Defendant pay

$7,500 to the United States District Court for the Eastern District of Tennessee as reimbursement




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for his appointed counsel. 18 U.S.C. § 3006A(f). The Court asks that periodic payments be made

in eleven monthly installments, with the Defendant making the first payment of $750 on February

1, 2010. Thereafter, the Court requests that payments of $675 be made on the first of each month,

through December 1, 2010. The Court ORDERS that payments be made periodically and that the

full amount of $7,500 be paid in full by December 31, 2010. Attorney Shope will be paid by the

Court in the usual course.

       IT IS SO ORDERED.

                                                    ENTER:


                                                      s/ C. Clifford Shirley, Jr.
                                                    United States Magistrate Judge




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